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                       IN THE UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF TEXAS
                               GALVESTON DIVISION

 SANTOS ARGUETA, et al.                        §
                                               § CIVIL ACTION NO. 3:20-cv-00367
          Plaintiff,                           §
                                               § Jury
 v.                                            §
                                               §
 CITY OF GALVESTON, et al.                     §
                                               §
        Defendants.                            §

                                          ORDER

        Defendants City of Galveston, Texas, and Officer Derrick Jaradi Motion to Exclude,

or Alternatively Limit, Improper Opinion Evidence is GRANTED. It is therefore,

        ORDERED that opinion testimony from Charles Wiley, Erin A. Burnhardt, M.D.;

Jenilyn Saunders, Autopsy Assistant II; Nobby C. Mambo, M.D.; Investigator D.J.

Lawrence; Robert G. Middleberg, Ph.D., F-ABFT, DABCC-TC, Laboratory Director; and

Paul Miller, Certifying Scientist will not be admitted into evidence in this case.

        Entered this _________ day of _________________, 202___.



                                                   JEFFREY VINCENT BROWN
                                                  UNITED STATES DISTRICT JUDGE
